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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                               )
                                                       )
        v.                                             )       Crim. No. 1:19-cr-148
                                                       )
                                                       )
PRAKAZREL MICHEL,                                      )
LOW TAEK JHO                                           )

                        NOTICE OF SUPPLEMENTAL WITNESS LIST

        The government provides this public notice of its supplemental witness list pursuant to the

Court’s Minute Order of October 8, 2022. Listed below are potential additional witnesses that

may be called in the government’s case-in-chief. The government may supplement this list with

additional witnesses prior to trial.

    1. Shervin Jalali

                                                  Respectfully submitted,

                                                     COREY R. AMUNDSON
                                                     Chief, Public Integrity Section
                                                     Criminal Division
                                                     U.S. Department of Justice

                                                     By: /s/ John D. Keller
                                                        John D. Keller
                                                        Principal Deputy Chief
                                                        Sean F. Mulryne
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                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this date, I electronically filed the foregoing pleading with

the Clerk of the Court using the CM/ECF system, which will serve counsel for the Defendant via

electronic notification.



Dated: March 20, 2023                                    /s/ John D. Keller
                                                         John D. Keller




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